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Co INTERNATIONAL TRADING

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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FOREMOST GROUPS, INC. f/k/a
FOREMOST INTERNATIONAL
TRADING CO., INC.,

Plaintiff,

VS.

TANGSHAN AYERS BATH
EQUIPMENT CO., LTD.,

Defendant.
§17200];

 

 

 

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COMPLAINT FOR:

(1) INTENTIONAL INTERFERENCE
WITH PROSPECTIVE ECONOMIC
ADVANTAGE;

(2) TORTIOUS INTERFERENCE WITH
CONTRACTUAL RELATIONS;

(3) UNFAIR COMPETITION UNDER
STATE LAW [Cal. B&P Code

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(4) UNFAIR COMPETITION UNDER
STATE LAW.

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Plaintiff Foremost Groups, Inc. f/k/a Foremost International Trading Co., Inc.
(collectively, “Foremost” or “Plaintiff’), as and for its Complaint against Defendant
Tangshan Ayers Bath Equipment Co., Ltd. (“Tangshan Ayers” or ‘Defendant”),
hereby complains and alleges as follows:

PARTIES

I. Foremost is a corporation incorporated in and existing under the laws
of the State of New Jersey and maintains an address at 906 Murray Road,
East Hanover, New Jersey 07936.

2. Upon information and belief, Tangshan Ayers is a Chinese company
with its principal place of business located in Tangshan, Hebei, China 06637.

3. Ayers Bath (U.S.A.) Co., Ltd (“Ayers”) is a corporation maintaining
its principal place of business at 10713 Norwalk Boulevard, Santa Fe Springs,

CA 90670. Ayers is a wholly owned and controlled subsidiary of Tangshan Ayers.
Upon information and belief, at all times mentioned herein, there existed a unity of
interest and ownership between Tangshan Ayers and Ayers such that any
individuality and separateness between Tangshan Ayers and Ayers has ceased and
Ayers is the alter ego of Tangshan Ayers.

JURISDICTION AND VENUE

4, Jurisdiction exists pursuant to 28 U.S.C. § 1332 because complete
diversity of citizenship exists between Foremost and Tangshan Ayers.

5. The amount in controversy, exclusive of interest and costs,
exceeds $75,000.

6. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)
because a substantial part of the events or omissions giving rise to Foremost’s
claims occurred in this district.

FACTUAL BACKGROUND

7. Foremost is a leader in the manufacturing of high-quality furniture and

 

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vitreous china including toilets, bathroom vanities, bath accessories, home and

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office furniture, patio and kids’ furniture as well as original equipment
manufacturer (“OEM”) and food service equipment.

8. Since its founding in 1988, Foremost has developed four product
divisions (Bathroom Furniture, Outdoor Furniture, Indoor Furniture and Food
Service Equipment) that produce world-class goods that offer superior design,
engineering and value for consumers and industry.

9. Foremost does not sell its products directly to the public. Rather,
Foremost develops regional distribution networks of dealers in specifically
researched and targeted, high-volume retail home centers, hardware stores and
kitchen and bath showrooms throughout the United States and Canada, including
Lowe’s, Home Depot, HD Supply and Menards.

10. The strategy of Foremost for developing and maintaining regional
networks of dealers is to provide each dealer with products that surpass all
competitors in key aspects including, but not limited to, price, style, warranty
and quality.

A. Foremost’s Exclusive Distribution Agreement

11. Foremost believed that there was a significant market opportunity in
the United States and Canada for the sale of bathroom and sanitary porcelain
products manufactured by Tangshan Huida Ceramic Group Co., Ltd. (“Huida”) in
China. After discussions and negotiations, Huida and Foremost endeavored to
pursue the successful introduction and promotion of Huida’s bathroom and sanitary
porcelain products in the United States and Canada.

12. On October 20, 2000, Huida executed a binding contract with
Foremost granting Foremost the exclusive right to distribute Huida bathroom and
sanitary porcelain products and toilet parts in the United States and Canada (the
“Exclusive Distribution Agreement”).

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13. Pursuant to the Exclusive Distribution Agreement, Huida granted
Foremost the exclusive right to distribute all products manufactured by Huida,
including toilets and kitchen and bathroom sinks, in the United States and Canada.

14. Since the execution of the Exclusive Distribution Agreement,
Foremost has been the exclusive distributor of Huida’s products, including toilets
and kitchen and bathroom sinks.

B. Tangshan Ayers’ Formation and Operation of Ayers

15. Ayers was incorporated in California in March 2010.

16. Tangshan Ayers owns one-hundred (100%) percent of the shares
of Ayers.

17. Upon information and belief, Tangshan Ayers formed Ayers to market
and distribute Huida-manufactured products in the United States.

18. Upon information and belief, Tangshan Ayers provided Ayers with
start-up capital in the amount of $200,000.

19. Ayers was inadequately capitalized for the reasonable costs and risks
attendant to its business.

20. There is substantial overlap of the directors and officers of Tangshan
Ayers and Ayers.

21. Yan Qing Wang, the President of Tangshan Ayers, is a Director
of Ayers.

22. Upon information and belief, Huazhong Dong, a Director of Ayers, is
also a Director of Tangshan Ayers.

23. Upon information and belief, the activities and business of Ayers were
carried out without the requisite corporate formalities.

24. To the extent the Ayers’ Board of Directors held any meetings, Ayers
failed to keep or maintain minutes of such meetings.

25. Foremost is informed and believes and thereupon alleges that, at all

times herein mentioned, there has existed a unity of interest and ownership between

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Tangshan Ayers and Ayers such that any individuality and separateness between
Tangshan Ayers and Ayers has ceased and Ayers is the alter ego of Tangshan Ayers
in that, among other things, (a) Ayers has been a mere shell, instrumentality or
conduit through which Tangshan Ayers has carried on its business, exercising
complete control, dominance, operation and management of such business to an
extent that any individuality or separateness between Ayers and Tangshan Ayers
did not exist; (b) Ayers has been a mere shell and sham without sufficient capital or
assets or has been so inadequately capitalized that, compared with the business to
be done by Ayers and the risks of loss attendant thereto, its capitalization has been
illusory; (c) Ayers was intended by Tangshan Ayers as a device to avoid personal
liability by substituting a financially insolvent corporation in place of Tangshan
Ayers; and (d) the activities and businesses of Ayers were carried out without the
requisite corporate formalities.

26. Foremost is informed and believes and thereupon alleges that
adherence to the fiction of the separate existence of Ayers as an entity distinct from
Tangshan Ayers would sanction a fraud or promote an unfair, unjust and
inequitable result in that, among other things, Ayers was inadequately capitalized
and is a mere shell unable to compensate Foremost for the injuries caused by its
tortious actions as alleged herein.

C. Tangshan Ayers’ Affiliation with Huida

27. Huida owns seventy-five (75%) percent of Tangshan Ayers.

28. The Legal Representative/Business Owner of Huida, Huei-wen Wang,
was the Legal Representative of Tangshan Ayers until June 28, 2007.

29. The current Legal Representative of Tangshan Ayers is Yen-ching
Wang, the son of the Huei-wen Wang. Yen-Ching Wang is also designated in the
Exclusive Distribution Agreement as Huida’s assigned liaison.

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30. Ayers’ promotional materials described Ayers as a “wholly owned
corporation of Tangshan Ayers Bath LTD which is a sister company to Huida
Ceramics Group LTD.”

D. Ayers’ Unlawful Conduct

31. Ayers is a distributor of sanitary ware products, including toilets and
bathroom sinks. Ayers also operates and offers its products under the
Dofiny brand.

32. Upon information and belief, Tangshan Ayers and Ayers either knew
or should have known about the existence of the Exclusive Distribution Agreement
between Foremost and Huida.

L. Approach of Ferguson

33. Ferguson Enterprises, Inc. (“Ferguson”) is the largest plumbing
wholesaler in North America. Ferguson showrooms offer customers a wide variety
of quality products, including bathroom fixtures such as toilets and sinks.

34. Foremost’s relationship with Ferguson began with the provision of
toilet seats. Foremost recently began providing Ferguson with vitreous china toilets
and sinks.

35. The “Mirabelle” line is Ferguson’s private label line. Ferguson
purchases products from manufacturers and distributors, such as Foremost, and then
offers them to customers under the brand “Mirabelle.”

36. Foremost and Ferguson entered into negotiations regarding the
expansion of the parties’ relationship to include Foremost’s provision of vitreous
china toilets specifically for Ferguson’s “Mirabelle” line.

37. Before the parties could reach an agreement, Ferguson alerted
Foremost to a potential problem with Foremost’s provision of toilets for the
“Mirabelle” line.

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38. Fred Finger, a buyer for Ferguson, informed Jennifer Earl, the
Vice President of Product Development for Foremost, that Ayers was distributing
toilets manufactured by Huida at costs lower than those being offered by Foremost.

39. Having both been manufactured by Huida, the toilets being distributed
by Ayers are identical to the toilets distributed by Foremost.

40. Mr. Finger told Ms. Earl that were he to purchase toilets from
Foremost and distribute them under the “Mirabelle” line, the Ayers’ toilets would

be competitive with the Mirabelle toilets.

41. In August 2011, Mr. Finger informed Robert Kermelewicz, the
Executive Vice President of Sales for Foremost, that certain Ferguson branch
locations had purchased Ayers’ toilets. Ferguson cannot control what products its
branch locations purchase and then package for sale to customers.

42. The Ayers’ toilets were being sold at a lower price then Ferguson
proposed to sell Foremost’s toilets.

43. Asa direct result, Ferguson refused to enter into a contractual
agreement with Foremost for the provision of Foremost’s toilets for Ferguson’s
“Mirabelle” line.

ae Approach of Lowe’s

44, Lowe’s Companies, Inc. (“Lowe’s”) is a chain of retail home
improvement and appliance stores with over 1,700 locations in the United States
and Canada.

45. Foremost has supplied Lowe’s with vitreous china toilets since 2008.

46. In2011, Foremost and Lowe’s entered into negotiations regarding the
expansion of the parties’ relationship to include Foremost’s provision of Huida-
manufactured sinks to Lowe’s.

47. In April 2011, Todd Page, the International Merchandise Manager —
Kitchen and Bath for LG Sourcing, Inc., a wholly-owed subsidiary of Lowe’s,

 

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informed Bradley Rannow, a National Account Manager for Foremost, that Ayers
had offered to sell Huida-manufactured vitreous china products to Lowe’s.

48. Mr. Page informed Mr. Rannow that Ben Liu emailed Mr. Page on
behalf of Ayers to sell Huida-manufactured vitreous china products to Lowe’s.

49. Tangshan Ayers, through Ayers, offered to sell the Huida-
manufactured vitreous china products to Lowe’s for a lower price than Foremost
could sell its toilets and sinks to Lowe’s.

50. Asa direct result of Tangshan Ayers’, through Ayers, approach of
Lowe’s, Tangshan Ayers has jeopardized Foremost’s business relationship
with Lowe’s.

J. Approach of HD Supply

51. HD Supply is one of the largest wholesale distributors of construction
and maintenance products in the United States and Canada. The products provided
by HD Supply include toilets and kitchen and bathroom sinks.

52. Foremost provided HD Supply with sinks manufactured by Huida.

53. Charles Wang of Ayers approached HD Supply on at least two
occasions and offered to sell it Huida-manufactured toilets and sinks for less than
the price HD Supply was paying to Foremost.

54, In addition, representatives of HD Supply informed Chris Murray, a
former sales manager for Foremost, that Ayers was selling Huida-manufactured
toilets and sinks in the same market as HD Supply for less than HD Supply was
paying Foremost.

55. Upon information and belief, Tangshan Ayers, through Ayers,
represented to retail stores and wholesale distributors in HD Supply’s market that
Ayers imported sanitary ware products directly from Huida and could provide those
products for a lower price than Foremost. HD Supply complained to Foremost that

Ayers’ provision of Huida-manufactured products in HD Supply’s market was

 

undercutting its prices.

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56. Asa direct result of Tangshan Ayers’, through Ayers, approach of
HD Supply and sale of Huida-manufactured toilets and sinks in HD Supply’s

market, Ayers has jeopardized Foremost’s business relationship with HD Supply.

E. The April Letter
57. On April 21, 2011, David Bruce, the Executive Vice President of

Foremost, wrote to Mr. Wang and informed him that Foremost had learned that
Ayers imported sanitary ware products manufactured by Huida and made those
products available to retail stores, wholesale channels and regional dealers in the
United States (the “April Letter”).

58. Inthe April Letter, Mr. Bruce also informed Mr. Wang that
Foremost’s customers contacted Foremost and notified them of Ayers’ attempts to
sell Huida sanitary ware products at or below the cost of such products.

59. Mr. Bruce informed Mr. Wang that Ayers’ conduct undercut
Foremost’s business relationships and damaged the good will that Foremost has
developed for more than a decade in its intangible assets, including, but not limited
to, customer relationships and market positions. The April Letter also stated that
Ayers’ conduct infringed on Foremost’s exclusive right of distribution with Huida
with respect to sanitary ware products in the United States and Canada.

60. Finally, Mr. Bruce informed Mr. Wang that Ayers’ failure to
immediately cease all sales, service and marketing activity would result in
Foremost filing a lawsuit and seeking a restraining order to immediately
discontinue Ayers’ operations as they relate to Huida products.

61. InJuly 2011, Mr. Wang responded to Mr. Bruce. In his response,
Mr. Wang denied purchasing products from Huida and asserted that “[Foremost’s]
accusation that [Ayers] interferes with [the Exclusive Distribution Agreement]
is absurd.”

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F. Ayers’ Unlawful Conduct Following Its Receipt of the Cease and
Desist Letter
62. Menards is a chain of home improvement stores in the Midwestern
United States. Menards offers a wide variety of products, including toilets and

kitchen and bathroom sinks.

63. Foremost has been attempting to sell Menards its vitreous china
products. On May 4, 2011, Foremost attended a “line review” with Menards.

A “line review” involves a retailer’s evaluation of a potential supplier’s products
and prices.

64. During the line review, Foremost provided Menards with detailed
information on its vitreous china toilets. Menards decided not to purchase toilets
from Foremost at that time.

65. OnJuly 26, 2011, Mr. Bruce and another Foremost representative
entered a Menards store in Indiana and noticed an Ayers’ branded toilet
prominently displayed in a promotional endcap. The toilet was on sale for $79.00,
well below Foremost’s market price.

66. Mr. Bruce purchased two (2) of the Ayers’ toilets from Menards. The
instruction manual included with each toilet clearly states that the toilets contain
parts manufactured by Huida.

67. The Ayers’ branded toilets sold at Menards contain Huida-
manufactured component parts, including flush valve assemblies.

68. The toilets sold by Foremost are also virtually identical to the toilets
sold by Ayers to Menards.

69. In addition, Ayers’ website (www.ayersbath.com;

www.dofinyusa.com) includes instruction manuals for a number of toilets that are

 

manufactured with Huida parts.

70. Tangshan Ayers, through Ayers, has interfered and threatened, and

continues to interfere and threaten, Foremost’s contractually exclusive pursuit of its

 

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North American distributorship of Huida bathroom and sanitary porcelain products
by contacting and offering to Foremost’s current and prospective business partners
in the United States and Canada sanitary ware products manufactured by Huida.

G. Ayers Litigation

71. On September 12, 2011, Foremost filed a complaint against Ayers in
the United States District Court for the Central District of California (the
“California District Court”), captioned Foremost Groups, Inc. f/k/a Foremost
International Trading Co., Inc. v. Ayers Bath (USA) Corporation, Civil Action
No. CV11-7473 GAF (Ex) (the “Ayers Litigation”).

72. Contemporaneously with the filing of the complaint, Foremost sought
a preliminary injunction barring Ayers from selling, distributing or offering for sale
Huida parts and products in the United States and Canada.

73. Atissue in the Ayers Litigation was whether Ayers’ distribution of
Huida products interfered with Foremost’s contractual relations and prospective
economic advantage.

74. The California District Court rejected Ayers’ argument that its toilets
differed from Foremost’s in terms of design or specifications, holding that any
differences identified by Ayers in comparison photographs were immaterial.

75. The California District Court also noted that the toilets distributed by
Ayers contained parts clearly manufactured by Huida.

76. The California District Court found “[s]trong evidence” that Foremost
would have continued to reap economic benefits from the Exclusive Distribution
Agreement absent Ayers’ conduct:

[Foremost’s Exclusive Distribution Agreement with Huida] generated

substantial economic benefit to Foremost for several years and plainly

contemplated probable future benefits and economic advantage to Foremost.

_.. Foremost sold Tangshan Huida porcelain goods to numerous large retail

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outlets in the United States for several years and reasonably expected to

continue with such sales in the future.

77. The California District Court further opined that Ayers’ “efforts to
undercut Foremost in the marketplace present[ed] a serious question regarding the
wrongful nature of Ayers’ conduct”:

Evidence tending to show efforts to sell product[s] to . . . [Foremost’s]

clients at any price, let alone at prices below those at which Foremost

could purchase the same item, supports an inference that Ayers|]

sought to interfere with Foremost’s agreement to act as the exclusive

distributor of Tangshan Huida products in the United States.

78. Based on Foremost’s Exclusive Distribution Agreement and its factual
findings, the California District Court concluded that “Ayers engaged in conduct
that would defeat the very purpose of that agreement.”

79. On December 20, 2011, the California District Court granted
Foremost’s application for a preliminary injunction against Ayers. The Order
provides, in relevant part:

[Ayers] and its officers, agents, servants, employees, and all those in

active concert or participation with [Ayers], shall stop selling,

distributing and/or offering for sale any and all [Huida] bathroom

vitreous china and/or porcelain and sanitary ware parts and products,

including but not limited to toilets and kitchen and bathroom sinks, in

the United States and Canada in violation of Foremost’s exclusive

distribution agreement.

80. On March 22, 2013, Ayers filed a voluntary petition under chapter 7 of
title 11 of the United States Code in the United States Bankruptcy Court for the
Central District of California, In re Ayers Bath (USA) Co., Ltd., Case No. 2:13-bk-
17409-RK (the “Ayers Bankruptcy”). As a result, the Ayers Litigation is stayed
pursuant to section 362 of the Bankruptcy Code.

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FIRST CLAIM
INTENTIONAL INTERFERENCE WITH PROSPECTIVE
ECONOMIC ADVANTAGE

81. Foremost repeats and realleges the allegations set forth in Paragraphs 1
through 80, inclusive, as if fully set forth herein.

82. Pursuant to the Exclusive Distribution Agreement, Foremost was in
continuous pursuit of future business with retail stores, wholesale channels and
regional dealers in the United States and Canada.

83. Foremost had economic relationships with many prospective
customers in the industry that probably would have resulted in economic benefits
to Foremost.

84. Tangshan Ayers and Ayers, who are not party to these relationships or
party to the Exclusive Distribution Agreement, have knowledge of the
aforesaid relationships.

85. Tangshan Ayers, through Ayers, intentionally, maliciously and without
justification or excuse intended to disrupt the relationships and has unreasonably
and actually interfered with Foremost’s pursuit of prospective economic gain under
the Exclusive Distribution Agreement from the aforesaid customers by importing
Huida products and making those products available for sale to retail stores,
wholesale channels and regional dealers in the United States.

86. Foremost has a reasonable expectation of economic advantage with the
aforesaid prospective customer relationships.

87. Foremost’s prospective customer relationships were disrupted.

88. Foremost was harmed.

89. Tangshan Ayers’ conduct was a substantial factor in causing
Foremost harm.

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SECOND CLAIM
TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

90. Foremost repeats and realleges the allegations set forth in Paragraphs |
through 89, inclusive, as if fully set forth herein.

91. There was a contract between Foremost and Huida.

92. Pursuant to the Exclusive Distribution Agreement, Plaintiff has a
binding contract for the exclusive distributorship of Huida’s bathroom and sanitary
porcelain products in the United States and Canada.

93. Tangshan Ayers and Ayers, who are not party to the Exclusive
Distribution Agreement, had or should have had knowledge of Foremost’s
contractual relationship with Huida.

94. Tangshan Ayers, though Ayers, intentionally, maliciously and without
justification or excuse has unreasonably and actually interfered with Foremost’s
contractual relationship with Huida by importing Huida products and making those
products available for sale to retail stores, wholesale channels and regional dealers
in the United States, thereby preventing performance of the contract.

95. Tangshan Ayers intended to disrupt the performance of Foremost’s
contract with Huida or knew that that disruption of performance was certain or
substantially certain to occur.

96. Foremost was harmed.

97. Tangshan Ayers’ conduct was a substantial factor in causing
Foremost harm.

THIRD CLAIM
UNFAIR COMPETITION UNDER STATE LAW
[CALIFORNIA BUS. & PROF. CODE §§ 17200 AND 17203]

98. Foremost repeats and realleges the allegations set forth in Paragraphs |

through 97, inclusive, as if fully set forth herein.

 

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DRINKER BIDDLE &

REATH LLP

ATTORNEYS AT Law

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P:14-cv-00188-SVW-RZ Document1 Filed 01/09/14 Page 15 of 25 Page ID #:16

99. Foremost has an exclusive right to distribute Huida’s bathroom and
sanitary porcelain products in the United States and Canada.

100. Upon information and belief, by virtue of Tangshan Ayers, through
Ayers, importing Huida sanitary ware products and making those products available
for sale to retail stores, wholesale channels and regional dealers in the United
States, Tangshan Ayers has competed, and is competing, unfairly with Foremost to
the benefit of Tangshan Ayers and to the detriment of Foremost.

101. By importing Huida sanitary ware products and making those products
available for sale to retail stores, wholesale channels and regional dealers in the
United States, Tangshan Ayers has maliciously and willfully sought to usurp
Foremost’s business through unfair competition.

102. Tangshan Ayers’ wrongful conduct as alleged herein constitutes unfair
competition and unfair business practices.

103. Based on the wrongful, unlawful, fraudulent and unfair acts described
herein, Tangshan Ayers is in violation of California Business and Professions Code
§§ 17200 and 17203.

104. Tangshan Ayers has profited and is profiting from such unfair conduct.

105. Foremost is therefore entitled to recover restitution in the form of
Tangshan Ayers’ profits, in an amount to be proved at trial, as a consequence of
Tangshan Ayers’ wrongful activities.

FOURTH CLAIM
UNFAIR COMPETITION UNDER STATE LAW
[CALIFORNIA COMMON LAW]

106. Foremost repeats and realleges the allegations set forth in Paragraphs 1

through 105, inclusive, as if fully set forth herein.

107. Foremost has an exclusive right to distribute Huida’s bathroom and

sanitary porcelain products in the United States and Canada.

 

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COMPLAINT AND DEMAND FOR TRIAL BY JURY

 
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REATH LLP
ATTORNEYS AT LAW

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108. Upon information and belief, by virtue of Tangshan Ayers, through
Ayers, importing Huida sanitary ware products and making those products available
for sale to retail stores, wholesale channels and regional dealers in the
United States, Tangshan Ayers has competed, and is competing, unfairly with
Foremost to the benefit of Tangshan Ayers and to the detriment of Foremost.

109. By importing Huida sanitary ware products and making those products
available for sale to retail stores, wholesale channels and regional dealers in the
United States, Tangshan Ayers has maliciously and willfully sought to usurp
Foremost’s business through unfair competition.

110. Tangshan Ayers’ aforesaid wrongful conduct has been wrongful,
unlawful, unfair, fraudulent, willful, wanton and malicious, done with intent, in
conscious disregard for the rights of Foremost in violation of California Civil Code
§ 3294(a). Foremost is therefore entitled to punitive damages pursuant to
California Civil Code § 3294(a).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against the Defendant
as follows:

l. For monetary damages in an amount to be proven at trial, plus costs
and pre-judgment and post-judgment interest and attorneys fees;

2. For exemplary damages;

3. For all general, special and equitable relief to which the Plaintiff is
entitled by law; and

4. Such other relief as this Court may deem just and proper.

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COMPLAINT AND DEMAND FOR TRIAL BY JURY

 
 

 

 

Case 2:14-cv-00188-SVW-RZ Document 1 Filed 01/09/14 Page 17 of 25 Page ID #:18
1 JURY DEMAND
2 Plaintiff, pursuant to Fed. R. Civ. P. 38(b) and L.R. 38-1, hereby demands a
3 | trial by jury as to all issues so triable.
Dated: January 8, 2014 DRINKER BIDDLE & REATH LLP
6 af Z Ag
By: VL, wal Tbh,
7 William A. Hanssen
g Suzanne V. Stouder
9 Attorneys for Plaintiff
10 FOREMOST INIERNATIONAL
Ai TRADING CO., INC.
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ATTORNEYS AT LAW

 

 

posanenyes COMPLAINT AND DEMAND FOR TRIAL BY JURY
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge Stephen V. Wilson and the assigned
Magistrate Judge is Ralph Zarefsky

 

The case number on all documents filed with the Court should read as follows:

2:14-CV-00188-SVW (RZx)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. S. District Court

 

 

 

January 9, 2014 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

i /
CJ wéstern Division [-_] Southern Division [_] Eastern Division
Ey 2.N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
Case 2:14-cv-00188-SVW-RZ Document1 Filed 01/09/14 Page 20 0f 25 Page ID #:21
Case 2:14-cv-00188-SVW-RZ Document1 Filed 01/09/14 Page 21 of 25 Page ID #:22

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

FOREMOST GROUPS, INC. f/k/a FOREMOST
INTERNATIONAL TRADING CO., INC.

Plaintiff(s)
Vv.

CivilfActionfyolf 1 hy - 00 { 8 8-<vd

Chey
TANGSHAN AYERS BATH EQUIPMENT CoO.,
LTD.

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
TANGSHAN AYERS BATH EQUIPMENT CO., LTD.
South to Huanggezhuang Government
Fengnan District
Tangshan, Hebei, China 06637

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

William A. Hanssen (Bar No. 110613)
Suzanne V. Stouder (Bar No. 161077)
DRINKER BIDDLE & REATH LLP
1800 Century Park East, Suite 1400
Los Angeles, CA 90067

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

   

Date: JAN —9 2014

 

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Case 2:14-cv-00188-SVW-RZ Document1 Filed 01/09/14 Page 22 of 25 Page ID #:23
Case 2:14-cv-00184- SUN RE DOS STE ESOT DS/E Pagh 25 US Page ID #:24

 

|. (a) PLAINTIFFS ( Check box if you are representing yourself L_] )
FOREMOST GROUPS, INC. f/k/a FOREMOST

INTERNATIONAL TRADING CO., INC.

DEFENDANTS

( Check box if you are representing yourself CI )

TANGSHAN AYERS BATH EQUIPMENT CO., LTD.

 

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address and Telephone Number If you are
representing yourself, provide the same information.

William A. Hanssen (SBN 110613)
Suzanne V. Stouder (SBN 161077)
DRINKER BIDDLE & REATH LLP
1800 Century Park East, Suite 1400
Los Angeles, CA 90067

 

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

Attorneys (Firm Name, Address and Telephone Number If you are
representing yourself, provide the same information.

 

ll. BASIS OF JURISDICTION (Place an X in one box only.)

LC] 1. U.S. Government
Plaintiff

CJ 2. U.S. Government
Defendant

| 3. Federal Question (U.S.
Government Not a Party)

[X] 4. Diversity (Indicate Citizenship
of Parties in Item III)

 

Foreign Country

Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only

(Place an X in one box for plaintiff and one for defendant)

ap . ae ger Incorporated or Principal Place al oe
Citizen of This State LJ1 C1 of Business in this State [L]4 La
Citizen of Another State LI 2 CJ 2 Incorporated and Principal Place Xx 5 LJ 5
of Business in Another State
Citizen or Subject of a Ol 7 Bd 3 Foreign Nation | 6 | 6

 

IV. ORIGIN (Place an X in one box only.)

 

_Multi-
Xx 1, Original CJ 2, Removed from CJ 3, Remanded from LI 4, Reinstated or CJ 5, Transferred from Another O ‘ bel HO

Proceeding State Court Appellate Court Reopened District (Specify) Litigation
V. REQUESTED IN COMPLAINT: JURY DEMAND: [xX] Yes] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [1] Yes ‘44 No

VI. CAUSE OF ACTION (Cite the U_S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. 1332; Interfrence with prospective economic advantage and contractual relations; unfair competition.

VII. NATURE OF SUIT (Place an X in one box only).

[DX] MONEY DEMANDED IN COMPLAINT: $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS

a 375 False Claims Act CI 110 Insurance C] 240 Torts to Land Oo — Habeas Corpus: [| 820 Copyrights
ication

0 400 State L_] 120 Marine 245 Tort Product 7 [] 483 Alien Detainee _] 830 Patent

Reapportionment Liability oO 465 Other 510 Motions to Vacate Cc f
0 410 Antitrust | 130 Miller Act | 290 All Other Real Immigration Actions Sentence 840 Trademar

430 Banks and Banki 140 Negotiable Property TORTS [_]530 General SOCIAL SECURITY
Cl anks and Banking Instrument TORTS PERSONAL PROPERTY CL 535 Death Penalty 861 HIA (1395ff)

Ratesieto WoO Recovery oF Ss 370 Other Fraud [Ome LI 862 Black Lung (923)

. - Overpayment & L] 310 Airplane LJ : . ——— a

L] 460 Deportation Enforcement of 315 Airplane C] 371 Truth in Lending [| 540 Mandamus/Other LI 863 DIWC/DIWW (405 (g))

470 Racketeer Influ- avegment CI Product Liability 380 Other Personal _| [7] $50 Civil Rights [7 264 ssip Title xvi

enced & Corrupt Org. | [_] 1514 Medicare Act ae Libel & LJ Property Damage 555 Prison Condition |{_ | ges RSI(405 (g))

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[-] 480 Consumer Credit 152 Recovery of 330 Fed. Employers’ 385 Property Damage) — seq Civil Detainee

490 Cable/Sat TV Defaulted Student |[ J iability LI Product Liabity [1] conditions of FEDERAL TAX SUITS
CJ a Loan (Excl. Vet.) ealmerine BANKRUPTCY Confinement_ qo 870 Taxes (U.S. Plaintiff or
[7 820 Securities/Com- 153 Recovery of O [[] 122 Appeal 28 “SFORFEITURE/PENALTY= | Defendant)

modities/Exchange Overpayment of |[_] a rauaaiie® USC 158 625 Drug Related Oo 871 IRS-Third Party 26 USC

890 Other Statutory Vet. Benefits Oo 423 Withdrawal 28 LJ canoe Property 21 7609

Actions 460 Stockholders’ | L] 359 Motor Vehicle USC 157 Chearouee
[_] 891 Agricultural Acts Suits O oe acai in CIVIL RIGHTS

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893 Environmental [X] 190 Other 360 Other Personal [J 440 Other Civil Rights LABOR

Matters Contract LC] Injury [] 441 Voting [_]710 Fair Labor Standards

895 Freedom of Info. 195 Contract Oo 362 Personal Injury- ian
= Act Product Liability Med Malpratice nl an [Ly] 720 Laborivigmt

896 Arbitration 196 Franchise 365 Personal Injury- 443 Housing erations

LI L] Product Liability LO Accomodations C] 740 Railway Labor Act

899 Admin, Procedures RECEPROREREY. 367 Health Care/ 445 American with 751 Family and Medical

Act/Review of Appeal of 210 Land Pharmaceutical C Disabilities L] Leave a

Agency Decision Condemnation Personal Injury Employment

[_] 220 Foreclosure Product Liability C] 448 American with he a Labor
as isabilities- itigation
950 Constitutionality of 368 Asbestos Disabilities-Other
230 Rent Lease & ;

State Statutes | Ejectment L Reson 448 Educati Cc et prea Ret. Inc,
FOR OFFICE USE ONLY: Case Number: i 4=
CV-71 (11/13) . CIVIL COVER SHEET Page 1 of 3
Case 2:14-cv-0o¥SS RAKES OBEUGTECHAT FAIR AN RUST RET REGeZPENZS Page ID #:25

VIII. WENUE:: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Make only one selection per row)

Question A: Was this case removed from STATE CASE WAS PENDING IN THE COUNTY OF: INTIAL DIVISION IN CACD IS:
state court?
Ll] ves EX] No L_] Los Angeles Western

If "no," go to Question B. If "yes," check the L] Ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the
corresponding division in response to CJ Orange Southern
Question D, below, and skip to Section IX.

C] Riverside or San Bemardino Eastern
Question B: |s the United States, or one of Teer enies : . area

; If the tates, or one of its agencies or employees, is a party, ts it:
its agencies or employees, a party to this ried : p a0 $2 BOY party. fs peepee
action? .: a : } : _ INITIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
Clyes Xn : CACD IS:.
&s ° _ Then check the box below for the county in Then check the box below for the county in
‘which the majority of DEFENDANTS reside. which the majority of PLAINTIFFS reside.
If "no," go to Question C. If "yes," check the [-] Los Angeles [_] Los Angeles Western
box to the right that applies, enter the Ol Ventura, Santa Barbara, or San Luis Oo Ventura, Santa Barbara, or San Luis een
corresponding division in response fo Obispo Obispo
Question D, below, and skip to Section IX. O 0 CO 5 Seuiliaen
range range
LJ Riverside or San Bernardino | Riverside or San Bemardino Eastern
CJ Other LC] Other Western
: pe A. / B. C, D, E; Fs
siete realy oy Los Angeles |Ventura, Santa Barbara, or| Orange County Riverside or San Outside the Central Other
~ ae County San Luis Obispo Counties Bemardino Counties District of California

 

Indicate the location in which a
majority of plaintiffs reside:

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Indicate the location in which a
majority of defendants reside:

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xX

 

Indicate the location in which a

XI

 

C]

 

CI

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CO

 

 

majority of claims arose:

 

EC] 2 or more answers in Column C

Enter "Southern" in response to

C.1. Is either of the following true? If so, check the one that applies:

C] only 1 answer in Column C and no answers in Column D

Your case will initially be assigned to the
SOUTHERN DIVISION.

If none applies, answer question C2 to the right.

Question D, below.

—

 

| 2 or more answers in Column D

C.2. Is either of the following true? If so, check the one that applies:

C] only 1 answer in Column D and no answers in Column C

Your case will initially be assigned to the
EASTERN DIVISION.
Enter "Eastern" in response to Question D, below.

\f none applies, go to the box below. j

 

Your case will initially be assigned to the
WESTERN DIVISION.
Enter "Western" in response to Question D below.

 

 

 

Question D: Initial Division?

INITIAL DIVISION IN

CACD

 

Enter the initial division determined by Questio

 

nA, B, orC above: ma-

 

WESTERN

 

 

CV-71 (11/13)

CIVIL COVER SHEET

Page 2 of 3

   

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Case 2:14-cv-00 YB EAAIAR? PBUEEILERH AT PRR OL RSET PEGAYECENAS Page ID #:26

COVER SHEE

IX(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? >] No L] Yes

If yes, list case number(s):

 

IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? [] no —X] Yes

if yes, list case number(s): CV11-7473 GAF (Ex)

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) Xx A. Arise from the same or closely related transactions, happenings, or events; or
CJ B, Call for determination of the same or substantially related or similar questions of law and fact; or

LJ C. For other reasons would entail substantial duplication of labor if heard by different judges; or

C D. Involve the same patent, trademark or copyright,_and one of the factors identified above in a, b or c also is present.

f q
X. SIGNATURE OF ATTORNEY / Yi ka 7 /
(OR SELF-REPRESENTED LITIGANT): PYY To DATE: January 8, 2014
)

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)
All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
863 DIWC all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))
All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
863 DIWW amended. (42 U.S.C. 405 (g))
864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (g))

 

CV-71 (11/13) CIVIL COVER SHEET Page 3 of 3

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